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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                             )
STATE OF TEXAS,                              )
STATE OF MISSOURI,                           )
                                             )
       Plaintiffs,                           )
                                             )
       v.                                    )       Civil Action No. 2:21-cv-00067-Z
                                             )
 JOSEPH R. BIDEN, JR.,                       )
 in his official capacity as                 )
 President of the United States, et al.,     )
                                             )
       Defendants.                           )
                                             )



                                      NOTICE OF APPEAL

       Pursuant to Federal Rule of Appellate Procedure 3, notice is hereby given that all

Defendants appeal to the United States Court of Appeals for the Fifth Circuit from the Court’s

Memorandum Opinion and Order of August 13, 2021, ECF No. 94, and Judgment, ECF No. 95,

as well as any and all associated opinions and orders.




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   Date: August 16, 2021              Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 16, 2021, I electronically filed the foregoing document with

the Clerk of the Court for the United States District Court for the Northern District of Texas by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                             /s/ Joseph A. Darrow
                             JOSEPH A. DARROW
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